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AO 450 (Rev. 5/85) Judgment in a Civil Case




                                 United States District Court
                                                         DISTRICT OF                           KANSAS

SPRINT COMMUNICATIONS COMPANY, L.P.,

                                                                            JUDGMENT IN A CIVIL CASE
                                                Plaintiff
                                     V.
                                                                            CASE NUMBER: 05-2433-JWL
VONAGE HOLDINGS CORP., and
VONAGE AMERICA, INC.,



                                                Defendants
  ✘   Jury Verdict. This action came before the Court for a trial by jury, The issues have been tried and the jury has rendered
      its verdict.
      Decision by Court. This action came before the Court. The issues have been considered and a decision has been
      rendered.

 IT IS ORDERED AND ADJUDGED

 pursuant to the jury verdict returned on September 25, 2007, that plaintiff Sprint Communications Company, L.P.
 shall recover of defendants Vonage Holdings Corp. and Vonage America, Inc., the sum of $69,500,000.00, with
 interest thereon at the rate of 4.11 percent as provided by law, and its costs of action.




 September 25, 2007                                                 INGRID L.
                                                                    RALPH  A. DeLOACH
                                                                              CAMPBELL, ACTING CLERK
 Date                                                               Clerk


                                                                                       s/ Sharon Scheurer
                                                                   (By) Deputy Clerk
